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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 22-280-GW-ASx                                              Date      January 31, 2022
 Title             Whitney Alondra Chabela et al v. Autozoners LLC, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Terri A. Hourigan
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Edgar Martirosyan                                    Graham M. Hoerauf
 PROCEEDINGS:                TELEPHONIC HEARING ON STIPULATION TO SUBMIT MATTER
                             TO ARBITRATION AND STAY PROCEEDINGS [12]


Court and counsel confer. In light of the parties' Stipulation, the Court administratively closes the case
but retains jurisdiction to reopen it at the written request of any party for further proceedings.




                                                                                                   :     02
                                                               Initials of Preparer   JG
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